Case 2:04-cv-02054-SHI\/|-dkv Document 20 Filed 06/07/05 Page 1 of 2 Page|D 35

 

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IN THE UNITED sTATEs DISTRICT COURT D.G.
FOR THE WESTERN DISTRICT oF TENNESSEE USJUMq
WESTERN DIVISION PH h-' 27
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JAMES HANNA, ` ' O' W, ry¢§§r.§»:b:§}?s:
Plaintiff,
vs. NO. 04-2054-Mav

MOCK, INC., d/b/a
HI SPEED INDUSTRIAL SERVICE,

Defendant.

 

ORDER OF DISMISSAL

 

The parties have submitted a “Notice of Dismissal With
Prejudice” in this matter indicating that plaintiff Wishes to
dismiss this lawsuit. The defendant consents to the dismissal.
It is therefore ORDERED that this case is DISMISSED With
prejudice, each party to bear its own costs, including attorneys'

fees.

_Zfé day of June, 2005. //
Ny/)%%

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

Entered this

 

         

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:04-CV-02054 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

